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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

BRABUS GmbH,                                             )
                                                         )    Case No. 20-cv-3789
                Plaintiff,                               )
                                                         )
                                                         )    Judge Robert W. Gettleman
v.                                                       )
                                                         )
HFUFUCU, et al.,                                         )
                                                         )
                Defendants.                              )

                      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff BRABUS GmbH
hereby dismisses with prejudice all causes of action in the complaint against the following Defendants
identified in Schedule A. Each party shall bear its own attorney’s fees and costs.

        No.     Defendant
        4       lijialin
        9       Silver Horse International
        37      Anderson mom2
        47      junyun_ding
        101     daro
        102     ferryman
        106     ctwcarstyle

        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.

                                         Respectfully submitted,
Dated: August 12, 2020                   By:     s/Michael A. Hierl             _
                                                 Michael A. Hierl (Bar No. 3128021)
                                                 William B. Kalbac (Bar No. 6301771)
                                                 Hughes Socol Piers Resnick & Dym, Ltd.
                                                 Three First National Plaza
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                                                 Attorneys for Plaintiffs
                                                 BRABUS GmbH
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on August 12, 2020.


                                                          s/Michael A. Hierl
